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                               UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA


   IN RE: FACEBOOK, INC.                          MDL No. 2843
   CONSUMER PRIVACY USER
                                                  Case No. 18-md-02843-VC
   PROFILE LITIGATION

                                                  ORDER REMOVING INCORRECTLY
                                                  FILED DOCUMENT
   This document relates to:
   All Actions




       The Court was notified of an erroneous filing containing sensitive information filed on

the docket. Accordingly, Docket Entry 931 is hereby ordered removed from the docket.

       IT IS SO ORDERED.

Dated: June 8, 2022
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge
